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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                        )
POWDER RIVER BASIN                      )
RESOURCE COUNCIL, et. al.,
                                        )
              Plaintiffs,               )
                                        )
      v.                                )      Case No. 22-cv-2696 (TSC)
                                        )
U.S. DEPT OF INTERIOR, et al.,          )
                                        )
              Defendants.               )
                                        )

                                            ORDER

       For the reasons set forth in the accompanying Memorandum Opinion, ECF No. 113,

Plaintiff’s Motion to Dismiss Counterclaim and Crossclaim, ECF No. 65, is hereby GRANTED

in part and DENIED in part. The motion is granted as to the counterclaim and denied as to the

crossclaim.



Date: January 18, 2024

                                               Tanya S. Chutkan
                                               TANYA S. CHUTKAN
                                               United States District Judge
